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                    IN THE UNITED STATES DISTRICT COIRT j _JUL -s ~ \,
                         NORTHERN DISTRICT OF TEXAS   Cl 1,:tK, US D!'.il RICT COURT
                             FORT WORTH DIVISION         lll ,_             ,,, .., ·-"-
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MICHAEL DURBOIS,                           §
                                           §
              Plaintiff,                   §
                                           §
vs.                                        §   NO. 4:19-CV-1056-A
                                           §
DEUTSCHE BANK NATIONAL TRUST               §
COMPANY, AS INDENTURE TRUSTEE,             §
FOR THE BENEFIT OF THE HOLDERS             §
OF AAMES MORTGAGE INVESTMENT               §
TRUST 2005-4 MORTGAGE BACK                 §
NOTES,                                     §
                                           §
              Defendant.                   §


                           FINAL JUDGMENT OF REMAND

        Consistent with the mandate of the United States Court of

Appeals for the Fifth Circuit,

        The court ORDERS, ADJUDGES, and DECREES that this action

be, and is hereby, remanded to the 352nd Judicial District Court

of Tarrant County, Texas, from which it was removed.

        SIGNED July 8, 2022.


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                               ;,;cb.ior United                           Judge
